                                          CIVIL
                 Case 2:23-cv-03049-WJM-JBC
JS 44 (Rev. 04/21)                              COVER
                                            Document 1-1 SHEET
                                                          Filed 06/02/23 Page 1 of 1 PageID: 25
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DEFENDANTS
           CANDLE SHOPPE OF THE POCONOS, INC.                                                                    GIVAUDAN S.A.; GIVAUDAN FRAGRANCES
                                                                                                                 CORPORATION; GIVAUDAN FLAVORS
    (b)   County of Residence of First Listed Plaintiff              Monroe, PA                                  County of Residence of First
                                                                                                                 CORPORATION;                 Listed Defendant
                                                                                                                                         UNGERER         & COMPANY,
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 INC.; INTERNATIONAL
                                                                                                                 NOTE:   IN LAND CONDEMNATION      FLAVORS
                                                                                                                                                     CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
           Carella Byrne Cecchi Olstein Brody & Agnello, P.C.
           5 Becker Farm Rd., Roseland, NJ 07068
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                      and One Box for Defendant)
    1   U.S. Government                ✖   3   Federal Question                                                                     PTF           DEF                                        PTF      DEF
          Plaintiff                              (U.S. Government Not a Party)                       Citizen of This State            1             1     Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government                    4   Diversity                                             Citizen of Another State               2         2   Incorporated and Principal Place           5         5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                     Citizen or Subject of a                3         3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                  TORTS                             FORFEITURE/PENALTY                          BANKRUPTCY                      OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
    120 Marine                          310 Airplane                     365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                 Product Liability             690 Other                                28 USC 157                       3729(a))
    140 Negotiable Instrument                Liability                   367 Health Care/                                                         INTELLECTUAL                   400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                 Pharmaceutical                                                     PROPERTY RIGHTS              ✖   410 Antitrust
        & Enforcement of Judgment            Slander                         Personal Injury                                                    820 Copyrights                   430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’               Product Liability                                                  830 Patent                       450 Commerce
    152 Recovery of Defaulted                Liability                   368 Asbestos Personal                                                  835 Patent - Abbreviated         460 Deportation
         Student Loans                  340 Marine                           Injury Product                                                         New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                   Liability                                                          840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment              Liability                  PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle                370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle                371 Truth in Lending                  Act                                                               485 Telephone Consumer
    190 Other Contract                      Product Liability            380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                      Protection Act
    195 Contract Product Liability      360 Other Personal                   Property Damage                   Relations                        861 HIA (1395ff)                 490 Cable/Sat TV
    196 Franchise                           Injury                       385 Property Damage               740 Railway Labor Act                862 Black Lung (923)             850 Securities/Commodities/
                                        362 Personal Injury -                Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))               Exchange
                                            Medical Malpractice                                                Leave Act                        864 SSID Title XVI               890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights           Habeas Corpus:                    791 Employee Retirement                                               893 Environmental Matters
    220 Foreclosure                     441 Voting                       463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                   510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff            Act
    240 Torts to Land                   443 Housing/                         Sentence                                                                or Defendant)               896 Arbitration
    245 Tort Product Liability              Accommodations               530 General                                                            871 IRS—Third Party              899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -       535 Death Penalty                     IMMIGRATION                           26 USC 7609                     Act/Review or Appeal of
                                            Employment                   Other:                            462 Naturalization Application                                            Agency Decision
                                        446 Amer. w/Disabilities -       540 Mandamus & Other              465 Other Immigration                                                 950 Constitutionality of
                                            Other                        550 Civil Rights                      Actions                                                               State Statutes
                                        448 Education                    555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                       3     Remanded from               4 Reinstated or              5 Transferred from     6 Multidistrict                        8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                     Another District         Litigation -                         Litigation -
                                                                                                                                 (specify)                Transfer                             Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           15 U.S.C. §§ 15(a) and 26
VI. CAUSE OF ACTION                        Brief description of cause:
                                           Antitrust
VII. REQUESTED IN                          ✖    CHECK IF THIS IS A CLASS ACTION                            DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE          William J. Martini                                        DOCKET NUMBER 23-2174
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
6/2/2023                                                                  /s/James E. Cecchi
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                      APPLYING IFP                                     JUDGE                              MAG. JUDGE
